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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                :
                                         :
      v.                                 :       No. 1:21cr-00026-CRC
                                         :
CHRISTOPHER ALBERTS,                     :
    Defendant.                           :


                                        ORDER

      Upon Consideration of the Consent Motion to: (1) Vacate Trial Date, (2) Suspend

Briefing Schedule as to Defendant’s Motion to Dismiss (Doc. 40), and (3) to Vacate the

March 30, 2022, Status Hearing. (10:00 a.m.), and the filing of a Joint Status Report

on March 25, 2022, and the entire record in this case,

it is this ____ day of __________________________, 2022, hereby, ORDERED

      1. The July 25, 2022, trial date is vacated.

      2. The Court suspends the briefing schedule as to Defendant’s Motion to

           Dismiss. (Doc. 40)

      3. The Court vacates Vacate the March 30, 2022, Status Hearing. (10:00 a.m.),

           and the filing of a Joint Status Report on March 25, 2022.

      4. The parties shall file a joint status report on or before May 23, 2022.




                                ________________________________
                                Judge,
                                U. S. District Court for the District of Columbia


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